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AO 245B-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case



                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                       JUDGMENT AFTER REMAND IN A
                     v.                                                  CRIMINAL CASE
               PEDRO ALVAREZ                                             (For Offenses Committed On or After November 1, 1987)
                                                                         Case Number: 1:03CR05016-001


                                                                         Katherine Hart, 2055 San Joaquin,
                                                                         Fresno, CA 93721
                                                                         Defendant’s Attorney

THE DEFENDANT:
[U]      pleaded guilty to count(s): One, Two and Three of the Superseding Indictm ent .
[]       pleaded nolo contendere to counts(s)       which was accepted by the court.
[]       was found guilty on count(s)     after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                            Date Offense           Count
Title & Section                     Nature of Offense                                       Concluded              Num ber(s)
21 USC 846 and 841(a)(1)            Conspiracy to Distribute and Possess W ith the          12/03/2002             One and Two
                                    Intent to Distribute Metham phetam ine (CLASS
                                    A FELONIES)
18 USC 924(c)(1)                    Carrying a Firearm During a Drug Trafficking            12/03/2002             Three
                                    Crim e (CLASS D FELONY)


       The defendant is sentenced as provided in pages 2 through 6 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendant has been found not guilty on counts(s)             and is discharged as to such count(s).

[]       Count(s)      (is)(are) dism issed on the m otion of the United States.

[]       Indictm ent is to be dism issed by District Court on m otion of the United States.

[U]      Appeal rights given.                          []        Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.


                                                                       5/1/2006
                                                                       Date of Im position of Judgm ent

:
                                                                       /s/ OLIVER W . W ANGER
                                                                       Signature of Judicial Officer


                                                                       OLIVER W . W ANGER, United States District Judge
                                                                       Nam e & Title of Judicial Officer

                                                                       May 3, 2006
                                                                       Date
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AO 245B-CAED (Rev. 9/01) Sheet 2 - Imprisonment
CASE NUMBER:               1:03CR05016-001                                                                Judgment - Page 2 of 6
DEFENDANT:                 PEDRO ALVAREZ



                                                        IMPRISONMENT
         The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
total term of   180 m onths .

120 m onths as to Counts 1 and 2 to be served concurrent to each other; 60 m onths as to Count 3 to run consecutively to
Counts 1 and 2 for a total term of im prisonm ent of 180 m onths.


[U]      The court m akes the following recom m endations to the Bureau of Prisons:
         The Court recom m ends that the defendant be incarcerated in a California facility, specifically TAFT, but only
         insofar as this accords with security classification and space availability.


[U]      The defendant is rem anded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                  Deputy U.S. Marshal
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AO 245B-CAED (Rev. 9/01) Sheet 3 - Supervised Release
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DEFENDANT:                  PEDRO ALVAREZ


                                                 SUPERVISED RELEASE
        Upon release from imprisonment, the defendant shall be on supervised release for a term of 60 months .
(unsupervised, if deported)


The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13,1994:

[U]      The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
         within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as directed by the probation
         officer.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check if applicable.)

[U]      The defendant shall not possess a firearm as defined in 18 U.S.C. § 921. (Check if applicable).

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any such
fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the additional conditions on the attached page (if indicated below).

                                STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
      of each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
      the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
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AO 245B-CAED (Rev. 9/01) Sheet 3 - Supervised Release
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                                 SPECIAL CONDITIONS OF SUPERVISION
         1.   The defendant shall subm it to the search of his person, property, hom e, and vehicle by a United States
              Probation Officer, or any other authorized person under the im m ediate and personal supervision of the
              probation officer, based upon reasonable suspicion, without a search warrant. Failure to subm it to a
              search m ay be grounds for revocation. The defendant shall warn any other residents that the prem ises
              m ay be subject to searches pursuant to this condition.

         2.   Pursuant to 18 USC 3583(d)(3), upon com pletion of the term of im prisonm ent, it is ordered the defendant
              be im m ediately surrendered to a duly authorized im m igration official for deportation in accordance with
              the established procedures provided by the Im m igration and Naturalization Act. If ordered deported,
              during the term of supervised release, the defendant shall rem ain outside the United States and shall not
              re-enter the United States without the consent of the Secretary of the Departm ent of Hom eland Security.


              Upon any re-entry into the United States, the defendant shall report in person to the United States
              Probation Office in the Eastern District of California within 72 hours.
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AO 245S-CAED (Rev. 9/01) Sheet 5, Part B - Criminal Monetary Penalties
CASE NUMBER:                   1:03CR05016-001                                                                                       Judgment - Page 5 of 6
DEFENDANT:                     PEDRO ALVAREZ


                                          CRIMINAL MONETARY PENALTIES
  The defendant shall pay the following total criminal monetary penalties in accordance with the Schedule of Payments set forth
on Sheet 5, Part B.
                                             Assessment                       Fine                 Restitution
    Totals:                             $ 300.00 Already paid                  $                       $

[]    If applicable, restitution amount ordered pursuant to plea agreement .......... $


                                                                         FINE
The above fine includes costs of incarceration and/or supervision in the amount of $ .

     The defendant shall pay interest on any fine of more than $2500, unless the fine is paid in full before the fifteenth day after
the date of judgment, pursuant to 18 U.S.C. §3612(f). All of the payment options on Sheet 5, Part B may be subject to penalties
for default and delinquency pursuant to 18 U.S.C. §3612(g).

[ ] The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      [ ] The interest requirement is waived.

      [ ] The interest requirement is modified as follows:


                                                                RESTITUTION
[]    The determination of restitution is deferred in a case brought under Chapters 109A, 100, 110A and 113A of Title 18 for
      offenses committed on or after 09/13/1994, until up to 60 days. An amended Judgment in a Criminal Case will be entered
      after such determination.

[ ] The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      [ ] The interest requirement is waived.

      [ ] The interest requirement is modified as follows:

[ ] The defendant shall make restitution to the following payees through the U.S. District Court, in the amounts listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless specified
otherwise in the priority order of percentage payment column below.

                                                       **Total                          Amount of                      Priority Order
Name of Payee                                       Amount of Loss                  Restitution Ordered                or % of Pymnt

                                                        TOTALS:                             $                               $




 ** Findings for the total am ount of losses are required under C hapters 109A, 110, 110A, and 113A of Title 18 for offenses com m itted on or after
Septem ber 13, 1994.
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AO 245S-CAED (Rev. 9/01) Sheet 5, Part B - Criminal Monetary Penalties
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                                                 SCHEDULE OF PAYMENTS
  Payments shall be applied in the following order: (1) assessment; (2) restitution; (3) fine principal; (4) cost of prosecution; (5)
interest; (6) penalties.

      Payment of the total fine and other criminal monetary penalties shall be due as follows:

A     [U] immediately; or

B     []     $    immediately, balance due (in accordance with C, D, or E); or

C     []    not later than     ; or

D     []    in installments to commence      day(s) after the date of this judgment. In the event the entire amount of criminal
            monetary penalties imposed is not paid prior to the commencement of supervision, the U.S. probation officer shall
            pursue collection of the amount due, and shall request the court to establish a payment schedule if appropriate; or

E     []    in (e.g. equal, weekly, monthly, quarterly) installments of $    over a period of   year(s) to commence        day(s) after
            the date of this judgment.


 Special instructions regarding the payment of criminal monetary penalties:




      []    The defendant shall pay the cost of prosecution.



                                                                  FORFEITURE

      []    The defendant shall forfeit the defendant's interest in the following property to the United States:
